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       ​ THE UNITED STATES FEDERAL DISTRICT COURT OF THE DISTRICT OF

                                          NEBRASKA




SUSANNE BECKER,Plaintiff,                                                 vs. 8:20cv00394

vs,

Defendants

United States Postal and essigns                                   reply on dismissal USPS

National Association of Letter Carriers and essigns

____________________________________________________________________________

                                      NATURE OF ACTION

      1.   1. ​This is an action by Susanne R. Becker for violations of the Due Process

           clause of the Fifth Amendment to the United States Constitution, namely,

           deprivation of property without due process of law. Bivens v. Six Unknown

           Named Agents, 403 U.S. 388 (1971) against the United States Postal Service in

           Amarillo, TX and the employees with id numbers ​ 02207592, 03491676,03491653,

           02326037, 02015859​ and the National association of letter carriers local union

           1037 President Justin Perry, Union Steward Daniel Andrade and Union Steward

           Reuben Trevino because they where or involved with the matter of fraud under

           the following statues: 18 U.S.C. 1343: Wire Fraud and ​940. 18 U.S.C. SECTION

           1341—ELEMENTS OF MAIL FRAUD.

                                                 CLAIM
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 2. I have a right to a trial or a court hearing in front of a Judge before the U.S

    treasury administration offset my taxes for the USPS and the NALC. This is my

    constitutional right as a U.S citizen. I claim that by not giving me my right to a

    trial or hearing constitutes fraud and or theft because the USPS and the NALC

    did not give me an opportunity to present my side to authorities. The USPS is a

    government agency and must give me a proper notice and an opportunity to be

    heard. I have a right to fair procedures before being subjected to punishment

    (administrative offset) or have some burden imposed on me. The USPS must

    have a fair and reasonable justification of its actions before infringes on my right

    to due process. The USPS and the NALC denied my right to equal protection of

    the law by their actions of offsetting my taxes to be electrically transferred into an

    unknown account for an unknown invoice that was not on the original debt before

    my right to a fair opportunity to be heard. Other Citizens of American have rights

    to a hearing on debt collections and not allowing me that right is denying me the

    right to equal protection of the law.

 3. By the USPS and the NALC denying my rights to due process and equal

    protection of the law, is allowing Government agencies to strong arm U.S

    citizens into a communist country where in communist countries stealing from

    citizens is a normal practice like China all property is communally owned but in

    America my property which is my tax refund is owned by me not the government

    and the government agency like USPS and the NALC can not come in and my

    take taxes without due process of the law and my rights to equal protection of the

    law.
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 4. IF the USPS and the NALC did take money through electronic transfer of funds

    without due process of the law then that constitutes theft and fraud under the

    telecommunication act of 1995/6. This Act states that no one can block or divert

    funds though the internet without due process of the law and or equal protection

    of the law. In which the USPS and the NALC did just that with my taxes. They

    diverted my taxes into an account without my rights to due process or equal

    protection of the law.

 5. For me to state a claim one the USPS and/or NALC deprived me of my federal

    refund taxes not me but also my children Grace, Faith and Hope Hurd of their

    earned children tax credit (26 U.S. Code 6511on credit or refund) in which I am

    entitled to my property under the 5th amendment and two the way in which

    USPS and/or NALC procedure to remedy me of my property “taxes” were

    constitutionally inadequate by violating the ​section 10 31 U.S.C. 3716 of the Debt

    Collection Act in which states I have the right to a fair hearing to he heard

    Abbottv. Latshaw, 164 F3d 141,146 (3d Cir. 1998).

 6. The USPS and /or NALC can not be treated differently from agencies or unions

    because I have a right to equal protection of the law under the 5 and 14th

    Amendment. The USPS and /or NALC refused to give me a just cause grievance

    under my rights as a union member just cause I was a CCA at the time USPS

    issued my 3rd notice of debt collection claim but during my 1st and 2nd notice I

    was a full time carrier that paid 10 years of union dues and that gave me rights to

    a fair hearing under a grievance processing. The NALC fail to represent me and

    took it as far as won a lawsuit saying that I have no rights to file a grievance after
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      discharge. Therefore I do not have to file with the National labor relations board

      after the fact and this court processing is the right sitting for a hearing to be

      heard on the violation of my Constitutional rights cause again I have the right to

      hear before I was deprived of my property.



                                  JURISDICTION AND VENUE


 7. 2. This Court has jurisdiction over the action and the parties under 28 U.S.C. §§

      1331, 1339,2201 and 2202, and 39 U.S.C. § 1208(a). This Court has jurisdiction

      and the Venue is proper under 28 U.S.C. § 1391 (b)(2), because a substantial

      part of the events or omissions giving rise to the claim occurred, or a substantial

      part of property that is the subject of the action is situated, in the Western Part of

      Nebraska Scottsbluff, Nebraska​.

 8.

                                            PARTIES

 9. 3. Plaintiff Susanne R Becker is the Subject of Randall County Texas as well as

      the subject of Scotts Bluff County Nebraska. Defencents United States Postal

      Service and the National association of letter carriers and within their federal

      agency they employee Debbie Wademan, Kathy Hand, Jim Bendenze, Jim

      Casson, Jacob Wilkinson, Richard Byrne, Shareen wertz, Justin Perry, Daniel

      Andrade, Reuben Trevino and the following employees managers from Amarillo,

      TX under employee identification numbers: 02207592,

      03491676,03491653,002015859, 02326037 that are listed in the TACS clock ring

      deletion.
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 10. 5. Grievance and Arbitration Tracking System (GATS) is a database that the

    USPS management, APWU and NALC union stewards of Amarillo, TX used as a

    Ponzi scheme to extort money from me by the means of robbing Peter to pay

    Paul though a fake grievance process.


                          Supporting Brief Exhibits to be used

 11. The original Letter of Demand was forward to me at address 50965 County road

    27 Scottsbluff, NE from address 3406 Nebraska Street Amarillo, TX 79109. The

    letter directs me to Section 460 of the United States Postal Employee Labor

    manual (ELM). Under section 460 the ELM of the USPS, the manual redirects

    me to three different sections 480, to 470.1 then to 473.1 of the ELM. In section

    473.1 of the USPS ELM it directs me to section 10 31 U.S.C. 3716 of the Debt

    Collection Act. Section 10 is in fact Public Statue 97-365, 1982, this is the Debt

    Collection Act of 1982. Within Section 10 of Public Statue 97-365,1982, it

    redirects me to section 5 and 6 within the statue that says, I had the right to a

    hearing before Administrative offset. A hearing I never got for debt that was an

    administrative offset from the Postal Service for “non-federal debt”.

 12. The original letter of Demand was mailed to me in April of 2017 states an

    overpayment for Q11C-4Q-C 11311239 and Q06C-4Q-C 1005587 for pay period

    7/2017 and if I had any questions I should direct them to the supervisor.

    Q11C-4Q-C 11311239 and Q06C-4Q-C 1005587 are global settlements for a

    arbitrational award for clerks in level 18 offices and below. This letter includes an

    invoice that clearly states at the top “INVOICE NO. 702802638” and “AMOUNT

    DUE 4,448.75.”
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 13. The United State Department of Treasury mailed me a letter from Birmingham,

    AL to 50965 County Road 27 Scottsbluff, NE 69361. In this letter, The U.S

    Department of Treasury said that I paid the US Postal Service 4,171.00 dollars

    for original debt 4,838.70 when in FACT the original debt is 4,448.75. This is

    where fraud took place the first time in 2018 and I did not get a hearing for due

    process and the original debt invoice did not match with the U.S treasury invoice.

 14. In August of 2017, I was issued again another invoice of debt with annual and

    sick leave for 1,976.24.This debt is where fraud took place for the second time.

 15. In the year of 2018, I filed a lawsuit against the USPS saying I had 1250 FMLA to

    be approved for FMLA protected leave.This lawsuit with the USPS over FMLA, I

    tried to show I had enough hours to qualify for FMLA and because I was not a

    Attorney of the Law I lost. But that's ok, cause it shows fraud by the USPS in

    Amarillo, TX for annual leave that I was not qualified for that was charged to my

    clock rings under the TACS database for the 2017 year. I did not get a paycheck

    but I sure did get debt for FMLA annual and sick leave that was charged to my

    employee number. And this debt was offset by the U.S Treasury without a

    hearing of due process.

                                        Supporting Brief


 16. Grievance and Arbitration Tracking System (GATS) is a database that the

    management and union stewards of Amarillo, TX used as a Ponzi scheme to

    extort money from USPS employees by basically robbing Peter to pay Paul.

 17. In April 2017, I received a letter for a grievance over payment. I was upset

    because I figured Debbie Wademan, and Jacob Wilkinson’s was at fault for this
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    overpayment because they got together with Kathy Hand and denied me of my

    original position back in 2011 as a fulltime carrier on city 2 in Scottsbluff, NE.

 18. But after really looking over the original debts, the U.S treasury offset, IRS

    payouts and my TACS, I notice that the original debt payment figure was wrong. I

    reread my original debt invoice and notice this over payment was for pay period 7

    and 2017. Pay period 7 was in March of 2017. I was seeking A LOT of medical in

    Scottsbluff, NE in March because of a fearful situation that happened to me when

    I was trying to go to work on February 11, 2017 at the USPS in Amarillo, TX.

 19. When I looked over my TACS I noticed my Annual leave was counting down and

    being withdrawn; but where was it going? I was confused because I know from

    past experience with Debbie Wademan and Jacob Wilkinson that when my

    position goes from Full time to part time my annual advance gets returned back

    to the USPS but I was still in a Full Time position in Amarillo,TX. So, I know that I

    never asked for annual leave during February to September of 2017. I would call

    up the sick leave hotline and request 40 hours of sick leave and 40 hours of

    leave without pay within a pay period. Note: my sick leave I earned so I do not

    pay back sick leave unless I go into the negative or request it if I am approved for

    FMLA.

 20. But with all the deleted clock rings, I could not figure out how I was not getting

    paid out. Until I research grievance databases for the USPS. The GATS

    database made sense as to how the Ponzi scheme worked within Amarillo, TX.

 21. See, I remember Felix Bustillo always saying that management always had a

    flash drive with the carrier's personal information that would be used for
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    grievances. I also remember Amila, one of the managers trying to find a way to

    pay Felix back for the fact I filed harassment charges against him. You see this

    was a way for the Amarillo Local NALC union to open a grievance process that

    would open the GATS database to extort money from me.

 22. So back to the fact of February 11,2017, it must have been a God thing because

    that day I was so fearful that something told me to go to Nebraska so I took my

    kids and we left without anything just what we had on and my car. I never came

    back to Amarillo, TX but management knew that they had to get me back

    because they were taking Annual leave 2 to 8 hrs a paycheck nothing noticeable

    before February of 2017. So to offset the fact that I was not coming back,

    Amarillo management and the local NALC created a fake invoice for

    overpayment on a clerk grievance . Apparently, they did not think that though

    cause it was a God thing again. Debbie Wademan, Jacob Wilkinson and Kathy

    Hand had me as a clerk in a level 18 office.

 23. After looking over the exhibits explained earlier, I noticed that extortion of wire

    fraud over the electron transfer from my U.S Treasury and to an unknown USPS

    account that original debt figure was not my original debt figure.


                                     Brief of Wire Fraud


                   941. 18 U.S.C. 1343—ELEMENTS OF WIRE FRAUD


 24. “ The elements of wire fraud under Section 1343 directly parallel those of the mail

    fraud statute, but require the use of an interstate telephone call or electronic

    communication made in furtherance of the scheme. ​United States v. Briscoe,​ 65
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    F.3d 576, 583 (7th Cir. 1995) (​citing​ ​United States v. Ames Sintering Co.​, 927

    F.2d 232, 234 (6th Cir. 1990) (per curiam)); ​United States v. Frey,​ 42 F.3d 795,

    797 (3d Cir. 1994) (wire fraud is identical to mail fraud statute except that it

    speaks of communications transmitted by wire); ​see also,​ ​e.g.​, ​United States v.

    Profit,​ 49 F.3d 404, 406 n. 1 (8th Cir.).”

 25. The four essential elements of the crime of wire fraud are:


    (1) that the defendants voluntarily and intentionally devised or participated in a

    scheme to defraud me out of money by creating an overpayment bill for a clerk

    grievance in pay period 7 of 2017. Paid period 7 would be in March of 2017.


    (2) The defendant did so with the intent to defraud me on my Annual and sick

    leave.


    (3) This scheme was reasonably foreseeable that interstate wire communications

    would be used because the invoice transfer from Amarillo, TX to Egnan, MN to

    Briminham, AL that Administrative offset my taxes though electronic funds as it is

    said on the U.S treasury.


    and (4) that interstate wire communications were in fact used by the U.S

    Treasury to the IRS that transfer funds to the USPS for a “non-federal debt also

    know as a grievance debt) (​citing​ Manual of Model Criminal Jury Instructions for

    the District Courts of the Eighth Circuit 6.18.1341 (West 1994)), ​cert. denied​, 115

    S.Ct. 2289 (1995); ​United States v. Hanson,​ 41 F.3d 580, 583 (10th Cir. 1994).


     There are two elements that constitute the crime of wire fraud:
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    (1) a scheme or artifice to defraud was 1. A overpayment grievance invoice and a

    overpayment invoice for annual leave that would not be noticeable to others

    within the USPS to question and that the GATS database is a loosely used and

    unmonitored database within the USPS that both the APWU,NALC and the

    USPS management can use to extort money for others for their personal gain;


    and (2) use of interstate wire communication to facilitate that scheme); ​United

    States v. Faulkner​, 17 F.3d 745, 771 (5th Cir. 1994). This APWU,NALC and the

    USPS used the mail to mail the invoice that crossed state lines and the U.S

    Treasury to offset the invoice to the IRS that would electronically transfer Tax

    refunds back to Amarillo, TX for my personal taxes to pay the first debt of

    overpayment that never happen in 2017 and to pay the second det payment of

    annual/sick leave debt that the NALC, APWU and the USPS used to cover up the

    theft of annual/sick though the GATS database that was deposited into NALC,

    APWU and the USPS personnels of paychecks for personal gain.


     The essential elements of wire fraud are:


    (1) a scheme to defraud funds was transferred from my 2017 and 2018 taxes into

    a fake invoice that was not the original debt by the U.S treasury from the IRS

    through electronic transfer.


    and (2) the use of, or causing the use of, interstate wire communications to

    execute the scheme by electronic transfer of funds though the u.S treasury and

    the IRS.), ​cert. denied​, 115 S.Ct. 193 (1995); ​United States v. Cassiere,​ 4 F.3d

    1006 (1st Cir. 1993)
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 26. To prove wire fraud, the government must show


    (1) scheme to defraud by means of false pretenses was used by the NALC,

    APWU and the USPS by mailing an overpayment for a APWU grievance to me

    for being clerk in a level 18 office in Mitchell, Ne in April of 2017 and then by

    saying I was FMLA approved for annual and sick leave and charged me from

    February until August 2017 all the while the APWU, NALC and the USPS was

    paying themselves this leave though my clock rings when in fact the Colorado

    Federal Judge ruled I did not have 1250 hours to get FMLA approval for 2017

    postal year.


    (2) defendant's knowing and willful participation in the scheme with intent to

    defraud by never fixing the issue and hiding the scheme by deleting clock rings

    through TACS and lying to the Colorado Judge of FMLA hours.


    and (3) use of interstate wire communications in furtherance of scheme by

    issuing to the U.S treasury and the IRS that they did the process of the Debt

    Collection Act of 1982 ut in fact they never gave me my rights to due process of a

    hearing before offsetting my taxes); ​United States v. Maxwell,​ 920 F.2d 1028,

    1035 (D.C. Cir. 1990)


     "Wire fraud requires proof of


    (1) a scheme to defraud The demand letters, Collection letters, U.S Treasury

    letters and the IRS pay outline for 2017 and 2018;
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       and (2) the use of an interstate wire communication to further the scheme the

       outline of my taxes that where payout to “non-federal debt” as known as

       grievance debt ponzi scheme.")


 27.

                                      CAUSE OF ACTION

       “18 U.S. Code § 1343.Fraud by wire, radio, or television: The APWU,NALC and

       the USPS having devised me by a ponzi scheme to defraud of my taxes to obtain

       money or property by means of false or fraudulent pretenses, representations, or

       promises, transmits or causes to be transmitted by means of wire, radio, or

       television communication in interstate or foreign commerce from 4 different

       states and 4 different Federal agencies, by writings, signs, signals, pictures, or

       sounds for the purpose of executing such scheme or artifice, shall be fined under

       this title or imprisoned not more than 20 years, or both. (Added July 16, 1952, ch.

       879, § 18(a), 66 Stat. 722; amended July 11, 1956, ch. 561, 70 Stat. 523; Pub. L.

       101–73, title IX, § 961(j), Aug. 9, 1989, 103 Stat. 500; Pub. L. 101–647, title XXV,

       § 2504(i), Nov. 29, 1990, 104 Stat. 4861; Pub. L. 103–322, title XXXIII,

       § 330016(1)(H), Sept. 13, 1994, 108 Stat. 2147; Pub. L. 107–204, title IX,

       § 903(b), July 30, 2002, 116 Stat. 805; Pub. L. 110–179, § 3, Jan. 7, 2008, 121

       Stat. 2557.)”

       Under law 42 U.S.C 1981a(b)(3) I entitled to 300,000 dollars for damages,

       because I was defrauded from my 2017 and 2018 taxes I should get a minimum

       of 600,000.00 dollars times 2 for plus punitive damages 1.2 million.


                                         Signature signed under FRCP 11(a) Susanne Becker
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